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                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION


Midas Green Technologies, LLC,

      Plaintiff,                            Civil Action No. 6:22-cv-00050-ADA

              - vs. -                       Jury Trial Demanded

Rhodium Enterprises, Inc.;
Rhodium Technologies LLC;
Rhodium 10mw LLC;
Rhodium 2.0 LLC;
Rhodium 30mw LLC;
Rhodium Encore LLC;
Rhodium Renewables LLC;

      Defendants.


DECLARATION OF WILLIAM J. KOLEGRAFF IN SUPPORT OF PLAINTIFF’S

OPPOSITION TO DEFENDANTS’ MOTION TO STRIKE OPINIONS OF AND TO

                    EXCLUDE TESTIMONY OF DR. JAMES LEE




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I, William J. Kolegraff, declare as follows:

   1. I am a partner at Thomas Whitelaw & Kolegraff LLP, counsel of record for Plaintiff

         Midas Green Technologies, LLC (“Midas”) in this action. The facts stated in this

         declaration are true to my knowledge, and if called as a witness, I can and would

         testify competently to them.

   2.    I make this declaration in support of Plaintiff’s Opposition to Defendant’s Motion

         to Strike Opinions of and To Exclude Testimony of Dr. James Lee.

   3. Attached as Exhibit A is a true and accurate copy of Dr. Lee’s Rebuttal Report dated

         January 26, 2024.

   4. Attached as Exhibit B is a true and accurate copy of relevant highlighted portions

         of Dr. Lee’s deposition testimony taken on February 19, 2024.

   5. Attached as Exhibit C is a true and accurate copy of Dr. Alphonso Ortega’s Opening

         Invalidity Report dated December 22, 2023.

   6. Attached as Exhibit D is a true and accurate copy of Midas’ Preliminary

         Infringement Contentions dated April 11, 2022.

   7. Attached as Exhibit E is a true and accurate copy of Midas’ Second Supplemental

         Response to Interrogatory No. 2, dated April 5, 2023.

   8. Attached as Exhibit F is a true and accurate copy of Midas’ Supplemental

         Responses to Interrogatory No. 4, dated December 2, 2022.

   9. Attached as Exhibit G is a true and accurate copy of U.S. Patent 10,405,457 with

         highlighted annotations.



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       I declare under penalty of perjury under the laws of California that the foregoing is true

and correct.

 Executed March 15, 2024, at Irvine, California.           Respectfully submitted,
                                                           /s/ William J. Kolegraff




                                                              Joseph E. Thomas (admitted p.h.v.)
                                                              William J. Kolegraff (admitted p.h.v.)
                                                              Grant J. Thomas (admitted p.h.v.)
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                               CERTIFICATE OF SERVICE

       I hereby certify that counsel of record who have appeared electronically in this case are

being served with this document on March 15, 2024 by way of the primary email address that said

counsel supplied to the Court’s CM/ECF system.


                                            /s/ Tierra Mendiola




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